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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

DALANEA TAYLOR; TAMMY
HEILMAN; DARLENE DEEGAN;
and ROBERT A. JONES III,

            Plaintiffs,
v.                                      CASE NO.: 8:21-cv-00555-SDM-CPT
CHRIS NOCCO, in his official
capacity as Pasco County Sheriff,

            Defendant,
                                       /



                          JOINT STATUS REPORT
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       Plaintiffs and Defendant, by and through undersigned counsel and pursuant to

the Court’s Order of May 27, 2021 (Dkt. 29), hereby provide the Court with a status

report concerning the progress of discovery.

        Following the previous status conference on January 25, 2022, the parties

conducted the Rule 30(b)(6) deposition of the Pasco County Sheriff’s Office on

January 26 and the deposition of Plaintiff Robert A. Jones III on January 27. However,

defense counsel had to cancel the deposition of Tammy Heilman on January 28 due to

a sudden family emergency in South Florida. The depositions of Darlene Deegan and

Dalanea Taylor—which were set for February 3 and 4—also had to be cancelled due

to a positive COVID-19 diagnosis as well as the same continuing family emergency.

These medical issues have also complicated efforts to reschedule the depositions.

       Against this backdrop, the parties filed a motion for an extension of the

discovery deadlines on Thursday, February 3, 2022. See Dkt. 67. In addition to the

extension for expert discovery that was contemplated in the last status report, the

motion seeks a 45-day extension of all fact discovery. The reason for this requested

extension is set forth in detail in the motion itself.

       Since the previous status conference, the parties have also worked to resolve the

issue involving the confidential juvenile records of the children of two of the Plaintiffs.

Currently, however, counsel for the Plaintiffs have not succeeded in securing the

consent of the relevant individuals. Counsel for the Plaintiffs notes in this regard that


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neither individual is a party to the case; that Plaintiffs are not expecting to call either

individual as a witness at trial; that neither individual currently resides with their

parents (who are the actual parties to this case); and that one of the individuals is

currently incarcerated. Counsel has not yet been able to determine whether it would be

possible to set up a confidential, non-monitored phone call with the incarcerated

individual, but, as a general matter, the correctional facility does not allow inmates to

accept incoming calls. Despite these hurdles, counsel continue to seek to work through

these issues.

      In addition, with respect to expert discovery, Plaintiffs emailed the names of the

anticipated expert witnesses on January 25. Plaintiffs are working to serve preliminary

expert reports as early as possible—given the currently-pending deadlines—though

Plaintiffs reserve the right to supplement any such expert reports prior to any deadline

that the Court ultimately sets for expert discovery in this case.




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February 4, 2022.                    Respectfully submitted,

/s/ Thomas W. Poulton                /s/ Ari S. Bargil
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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 4th day of February, 2022, a true and correct

copy of the foregoing document was served via the Court’s CM/ECF system upon all

counsel of record.

                                     /s/ Ari S. Bargil




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